                            Case 3:20-cr-00015-KGB Document 26 Filed 10/16/20 Page 1 of 3
AO 245B (Rev. 09/19)     Judgment in a Criminal Case
                         Sheet I



                                              UNITED STATES DISTRICT COURT
                                                           Eastern District of Arkansas
                                                                          )
                UNITED STA TES OF AMERICA                                 )       JUDGMENT IN A CRIMINAL CASE
                                     v.                                   )
                  CRISTHIAN JIMENEZ-GARCIA
                                                                          )
                                                                          )       Case Number: 3:20-cr-00015 KGB
                                                                          )       USM Number: 33216-009
                                                                          )
                                                                          )        CHRIS TARVER
                                                                          )       Defendant's Attorney
THE DEFENDANT:
rl
                                                                                                                   FILED
                                                                                                             U.S. DISTRICT COURT
IX.I pleaded   guilty to count(s)         1                                                              EASTERN DISTRICT ARKANSAS
                                      ----------------------~~~~~------~--
• pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                     Nature of Offense                                                      Offense Ended
8 U.S.C. § 1326(a)                  Illegal Re-Entry After Deportation, a Class E Felony                    2/2/2020                1




       The defendant is sentenced as provided in pages 2 through         _ _3_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)

D Count(s)                                              Dis       Dare dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change ofname, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                                         1011512020
                                                                         Date oflmposition of Judgment


                                                                                                   Isl Susan Webber Wright
                                                                         Signature of Judge




                                                                          Susan Webber Wright, United States District Judge
                                                                         Name and Title of Judge


                                                                                                         1011612020
                                                                         Date
                           Case 3:20-cr-00015-KGB Document 26 Filed 10/16/20 Page 2 of 3
AO 2458 (Rev. 09/19) Judgment in Criminal Case
                     Sheet 2 - Imprisonment

                                                                                                  Judgment -   Page    2 -
                                                                                                                      --     of   3
 DEFENDANT: CRISTHIAN JIMENEZ-GARCIA
 CASE NUMBER: 3:20-cr-00015 KGB

                                                            IMPRISONMENT
           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:
  Time served.




      D The court makes the following recommendations to the Bureau of Prisons:




      till   The defendant is remanded to the custody of the United States Marshal.

      D The defendant shall surrender to the United States Marshal for this district:
             D at                                 D a.m.       D p.m.       on

             D as notified by the United States Marshal.

      D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
             D before 2 p.m. on
             D as notified by the United States Marshal.
             D as notified by the Probation or Pretrial Services Office.


                                                                  RETURN
 I have executed this judgment as follows:




             Defendant delivered on                                                     to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                UNITED STATES MARSHAL


                                                                           By
                                                                                             DEPUTY UNITED STATES MARSHAL
                          Case 3:20-cr-00015-KGB Document 26 Filed 10/16/20 Page 3 of 3
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 3 - Supervised Release
                                                                                                       Judgment-Page     3      of   --~3__
DEFENDANT: CRISTHIAN JIMENEZ-GARCIA
CASE NUMBER: 3:20-cr-00015 KGB
                                                       SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:

 No supervised release to follow term of imprisonment. If the defendant is deported, he is reminded that he shall not illegally
 return to the United States.




                                                      MANDATORY CONDITIONS
I.    You must not commit another federal, state or local crime.
2.    You must not unlawfully possess a controlled substance.
3.    You must refrain from any unlawful use ofa controlled substance. You must submit to one drug test within 15 days of release from
      imprisonment and at least two periodic drug tests thereafter, as determined by the court.
               D The above drug testing condition is suspended, based on the court's determination that you
                   pose a low risk of future substance abuse. (check if applicable)
4.     D You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
           restitution. (check if applicable)
5.     Ill You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.     D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
           directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
           reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.     D You must participate in an approved program for domestic violence. (check if applicable)
You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
